                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF MISSOURI

Sentencing Minute Sheet for the Honorable Dean Whipple

UNITED STATES OF AMERICA                                     Case No: 09-00156-08-CR-W-DW
vs.                                                          Date: 2/11/2011
CLAIR JOHN EASTERBROOK

        Plaintiff Counsel                                    Defendant Counsel
        Bruce Rhoades, AUSA                                  Darren Fulcher, CJA

         Time Commenced: 11:00 a.m.                            Time Terminated: 11:51 a.m.
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X        There are unresolved issues regarding the P.S.I. and the Guideline Range to be discussed
         with the Court: Court takes up defendant’s objections and rules as set forth on the record.

Total Offense Level: 35                                      Criminal History Category: VI
Imprisonment Range: 292 to 365 months                        Supervised Release Range: to 10 years on
                                                             Count 1; 2 to 3 years on Count 2
Special Assessment: $100.00                                  Restitution: Not Applicable
Fine Range: $20,000 to $8,000,000

The Defendant is sentenced to Count(s) 1 - 2.
X     Court grants Government’s Motion for Downward Departure (doc #257).

INCARCERATION:
X      The Court hereby orders the defendant to serve the following term of incarceration with
       the FBP: 150 months on each count with credit for time served. Terms to run
concurrently w/each other and Jackson County, Missouri Circuit Court case Nos. 0616- CR-
04104-01 and 0916-CR-        00913-01.
X      Defendant is hereby remanded to the custody of U.S. Marshal.

SUPERVISED RELEASE:
X    The Court hereby orders the defendant to the following term of Supervised Release: 5
     years on Count 1; 3 years on Count 2, terms to run concurrent.

SPECIAL CONDITIONS OF SUPERVISED RELEASE: See J & C.
FINE: Fine waived.
RESTITUTION: Not applicable.

SPECIAL ASSESSMENT: $200.00 ($100.00 each count), due immediately.

RECOMMENDATIONS: The Court recommends that the Bureau of Prisons designate the
Missouri Department of Corrections to be the place of service of this sentence, thereby making
this sentence concurrent with the defendant’s imprisonment, pursuant to the above Jackson
County, Missouri judgments. The Court further recommends that defendant be designated to an
institution for participation in the 500-hour residential substance abuse treatment program.

X       The Court advises the Defendant he has 14 days to appeal.

Court Reporter: Denna Lamken                                 CRD: J. Baldwin

        Case 4:09-cr-00156-SRB               Document 270           Filed 02/11/11         Page 1 of 1
